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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA



              UNITED STATES OF AMERICA

                                                                                  20-CR-00305-DDD
                                                 Plaintiff,            Declaration of Defendant Kimberley Ann
                                                                       Tew In Support of Her Motion to Modify
                                                                            the Conditions of Her Release
                                            v.


              MICHAEL AARON TEW,
              KIMBERLEY ANN TEW, and
              JONATHAN K. YIOULOS
                                  Defendants.


                     Kimberley Ann Tew, declares under penalty of perjury, under 28 U.S.C. § 1746, that the

            following is true and correct:

                            1.        I am a United States citizen and grew up in this country.

                            2.        The last time I left the United States was in 2014.

                            3.        For the last six years, I've lived in Denver with my husband Michael Tew

                and our twin six-year-old daughters.

                            4.        My daughter A attends the local elementary public school, and my

                daughter Z is homeschooled because she has special needs in the form of a sensory processing

                disorder.

                            5.        Z’s sensory processing disorder requires constant care and attention that is

                distinct and particular from the kind of care required from a normally functioning child.
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                            6.        My current home confinement prevents me from leaving our home unless

                my movement has been preapproved. Accordingly, I cannot do normal daily activities that

                take place in other areas of my apartment complex, such as collecting mail, taking out the

                trash, picking up packages from the front desk, or using the apartment building’s gym.

                            7.        On April 19th, 2021, A had an incident at school related to complications

                from a dental procedure. My husband was on a conference call for work, and I was unable to

                pick A up from school because I had not been preapproved to leave my apartment at that time.

                Accordingly, A had to wait at school until my husband could pick her up.

                            8.        At no point have I ever attempted to flee the jurisdiction, despite being on

                notice of the government’s investigation. I am committed to having a jury trial in this matter.

                            9.        On July 9, 2020, seven months prior to my initial appearance in this

                matter, my husband’s former attorney informed me that the Government told him I was under

                investigation. I made no plans or attempts to flee the jurisdiction.

                            10.       A Radio Frequency ("RF") transceiver called the “Bi Home Guard 206

                DS” ("206 DS") is shackled to my ankle as part of my current conditions of release.

                            11.       The 206 DS transmits a signal to a large radio receiver I have to keep in

                my apartment. This receiver sets off an alarm if I cross the perimeter of my apartment.

                            12.       The 206 DS system has malfunctioned on multiple instances and our home

                life interrupted by check in calls from pretrial services.

                            13.       In April of this year, I developed bruises on my leg due to the 206 DS

                ankle shackle. The bruises have since subsided.
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                     I declare under penalty of perjury that the foregoing is true and correct to the best of my

                knowledge and recollection.



                Dated: June 18, 2021
                Denver, Colorado                                             Respectfully submitted,


                                                                             __________________________
                                                                             Kimberley Ann Tew
